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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,

vs.                                              CASE NO.: 1:02-CR-024-SPM

BRYAN TAYLOR,

           Defendant.
______________________________/

      ORDER DENYING MOTION TO REDUCE UNDER 18 U.S.C. § 3582

       This cause comes before the Court on Defendant’s motion to reduce

sentence (doc. 416) under 18 U.S.C. § 3582(c) and the retroactive crack cocaine

amendment (Amendments 706 and 711).

       Upon review, the Court finds that Defendant is not entitled to a sentence

reduction. Defendant’s current sentence of imprisonment is the result of a

violation of his supervised release. Application Note 4(A) to the United States

Sentencing Guidelines Section 1B1.10 provides that “Only a term of

imprisonment imposed as part of the original sentence is authorized to be

reduced under this section. This section does not authorize a reduction in the

term of imprisonment imposed upon revocation of supervised release.” See also

18 U.S.C. § 3582(c)(2) (“[T]he court may reduce the term of imprisonment, after

considering the factors set forth in section 3553(a) to the extent that they are

applicable, if such a reduction is consistent with applicable policy statements

issued by the Sentencing Commission.”). Therefore, the amendment to the


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crack guidelines does not apply to his particular situation. Accordingly, it is

        ORDERED AND ADJUDGED that the motion for reduction of sentence

(doc. 416) is denied.

        DONE AND ORDERED this first day of May, 2008.



                                      s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District JudgeMay 1, 2008




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